AMEN (EPS3:28-cv-00101-DPM Document 10__— Filed 08/03/23 Page 1 of 26

FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT
RET ME RE UNDER THE CIViL RIGHTS ACT, 42 U.S.C. § 1983

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vitae gE "IN THE UNITED STATES DISTRICT COURT mast o C
003 UG -3 A %S2 FOR THE FASTERN DISTRICT OF ARKANSAS yj. #RKANSag
oo ae Lock DIVISION 93 2993
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; - CASE NO. 3: U3 ~¢u-O0\0) - pem ar
Jury Trial: wYVes oO No , RE
(Check One)
I. Parties

In item A below, place your full name in the first blank and place your present address in the second
blank. Do the same for additional plaintiffs, if any.

A. Name of plaintiff: (Y) ATNDDA) Cox belt Lavorencd
ADC # Ob 31014 \

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Address: / 1c el Paccayu uy Deo

Name of plaintiff:
ADC #

Address:

Name of plaintiff:
ADC #

Address:

In item B below, place the full name of the defendant in the first blank, his official position in the
second blank, his place of employment in the third blank, and his address in the fourth blank.

B. Name of defendant: Yeh (Aner g
Position: Jail Adminictcator

Place of employment: Cr diay ack Col oly ! ¥ derhin Cane

Address: hLOillp et “ J TVZ410)

Name of defendant: A

Position: Hire ac foun ty She aft

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Case 3:23-cv-00101-DPM Document10- Filed 08/03/23 Page 2 of 26

Place of employment: ( CQ\ ath rif] 5
Address: - O WA

Name of defendant: Hannah Carke

Position:_ acl Nucse

Place of employment: Tummy f Cactus gc Coach) Pelahon Grbe
Address: FO) Untlett (Zeb. onsbon At

Name of defendant: OF cee Creston ( first name unknown)

Position: (ortrephonal &frec

Place of employment: { aia hee) Louctu Trdedhia Center
Address: 4D) Lovlety I2cl. Atnogyn7 AC WN}

II. Are you suing the defendants in:

SY

official capacity only
personal capacity only
both official and personal capacity

III. Previous lawsuits

A.

Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action?

Yes. No Jf

If your answer to A is yes, describe the lawsuit in the space below. (If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same outline.)

O Parties to the previous lawsuit:

Plaintiffs:

Defendants:

IV.

VI.

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O Court (if federal court, name the district; if state court, name the county):

O Docket Number:

O Name of judge to whom case was assigned:

O Disposition: (for example: Was the case dismissed? Was it appealed?
Is it still pending?)

O Approximate date of filing lawsuit:

O Approximate date of disposition:

Place of present confinement: € oO mM le
)SOry A). rae Kei aothnaie Ze). fanagoulel, A 724150

At the time of the alleged incident(s), were you:
(check appropriate blank)

So in jail and still awaiting trial on pending criminal charges
serving a sentence as a result of a judgment of conviction

in jail for other reasons (e.g., alleged probation violation, etc.)
explain:

The Prison Litigation Reform Act (PLRA), 42 U.S.C. § 1997e, requires complete exhaustion
of administrative remedies of all claims asserted, prior to the filing of a lawsuit. There is a
prisoner grievance procedure in the Arkansas Department of Correction, and in several county
jails. Failure to complete the exhaustion process provided as to each of the claims asserted in
this complaint may result in the dismissal without prejudice of all the claims raised in this
complaint.

A. Did you file a grievance or grievances presenting the facts set forth in this complaint?

Yes No

B. Did you completely exhaust the grievance(s) by appealing to all levels within the
grievance procedure?
VII.

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Yes ¥Y No

If not, why?

Statement of claim

State here (as briefly as possible) the facts of your case. Describe how each defendant is
involved. Include also the names of other persons involved, dates, and places. Do not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related

claims, number and set forth each claim in a separate paragraph. (Use as much space as you
need. Attach extra sheets if necessary.)

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VII. Relief

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or Statutes.

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I declare under penalty of perjury (18 U.S.C. § 1621) that the foregoing is true and correct.
‘

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Signature(s) of plaintiff(s)

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Patient visit Infocmebon

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Page i of 2

St. Bernards Medical Center Patient: MATTHEW C LAWRENCE
225 E Washington 870-207-4100 Acct Num: $V0204221360
Jonesboro, AR 72401 Med Rec Num: §M07115103

Location: EMERGENCY DEPARTMENT
Primary Provider: FREGO, JONATHAN
Date: 01/18/23

Patient Visit Information

You were seen today for:

Right radial head fracture
Fracture of right ulnar styloid
History of conscious sedation

Your caregivers today were:

Primary Provider: JONATHAN FREGO , MD
Midlevel Provider: ANDREW R SMITH , APN
Nurse: CDR

Patient Instructions:

Received with this packet on 01/19/23 at 01:30
General Discharge Instructions

How to Use a Sling

Procedural Sedation

R.I.C.E. Treatment

Splint Care

Wrist Fracture in Adults

Activity Restrictions or Additional Instructions:

Please read all discharge paperwork to ensure proper care of your condition after discharge. Alternate
Tylenol and Ibuprofen for aches, pain, fever. Increase clear liquids (water, Gatorade, Pedialyte) for
hydration. Use foods such as brat diet (bananas, rice, applesauce, toast) to reduce GI upset, nausea,
vomiting, diarrhea. Please call PCP and schedule appointment to follow-up within 1 week. Please call PCP
and/or return to ED if you having worsening of symptoms, increased pain and/or fever that is not
controlled with Tylenol and/or Ibuprofen.

Keep splint on at all times. Sling must be in place at all times other than sleep and bathing. Patient
needs to be evaluated by medical staff at jail for neurovascular checks at least every 4 hours. Patient
needs to follow-up in this ED on Friday, 1/20/2023 between the hours of 8 and 9 AM, having nothing to
eat or drink after 11 PM on 1/19/2030 per request of Dr. Brackett orthopedics on-call.

Follow-Ups:
MATTHEW C LAWRENCE has been referred to the following clinics/specialists for follow-up care:

1. ROGER L TROXEL , MD Date:
4334 E HIGHLAND DRIVE
STEA
JONESBORO, AR 72401
Case 3:23-cv-00101-DPM Document 10

St. Bernards Medical Center
225 E Washington 870-207-4100
Jonesboro, AR 72401

Filed 08/03/23

Patient:

Acct Num:

Med Rec Num:
Location:

Primary Provider:

Date:

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MATTHEW C LAWRENCE
$V0204221360
$M07115103

EMERGENCY DEPARTMENT
FREGO, JONATHAN
01/18/23

Page 2 of 2

870-802-0012

Prescriptions:

1. ibuprofen
600 mg oral three times a day as needed #10 tab
600 mg
tablet
Refills: 0

Additional Documents Given:
Portal API Information

Additional Discharge Info, ED
Labs (Last Set)/Allergies

Medication Notification

REMINDER: °

Continue your home medications as you were taking them before your Emergency Department visit

today, unless told to change by ED provider.
Case 3:23-cv-00101-DPM Document10 Filed 08/03/23 Page 22 0f26'

Name: MATTHEW C LAWRENCE
Acct Num: $V0204221360

we Med Rec Num: SM07115103

» Corrica rds Location: EMERGENCY DEPARTMENT
at MAE DICAL CENTER Primary Provider: FREGO, JONATHAN
The Heart of Great Medicine Date: 01/18/23

Wrist Fracture in Adults

WHAT YOU NEED TO KNOW:

A wrist fracture is a break in one or more of the bones in your wrist.

Elbow

Radius"
Ulna

ye

ck!

Re

YWvrist

Thumb—¥ i ‘
i iY +
Fingers" | i

Adult Arm Bones

DISCHARGE INSTRUCTIONS:

Return to the emergency department if:
® Your pain gets worse or does not get better after you take pain medicine.
® Your cast or splint breaks, gets wet, or is damaged.
@ Your hand or fingers feel numb or cold.

® Your hand or fingers turn white or blue.

® Your splint or cast feels too tight.
Case 3:23-cv-00101-DPM Document10 Filed 08/03/23 Page 230f26
Name: MATTHEW C LAWRENCE
Acct Num: SV0204221360

~ Med Rec Num: SM07115103
erm ci ras Location: EMERGENCY DEPARTMENT

MEDICAL CENTER Primary Provider: FREGO,JONATHAN
The Heart of Great Medicine Date: 01/18/23

® You have more pain or swelling after the cast or splint is put on.

Call your doctor if:
@ You have a fever.

@ There is a foul smell or blood coming from under the cast.

@ You have questions or concerns about your condition or care.

Medicines: You may need any of the following:
® Prescription pain medicine may be given. Ask your healthcare provider
how to take this medicine safely. Some prescription pain medicines contain
acetaminophen. Do not take other medicines that contain acetaminophen
without talking to your healthcare provider. Too much acetaminophen may
cause liver damage. Prescription pain medicine may cause constipation. Ask
your healthcare provider how to prevent or treat constipation.

® NSAIDs, such as ibuprofen, help decrease swelling, pain, and fever. NSAIDs
can cause stomach bleeding or kidney problems in certain people. If you
take blood thinner medicine, always ask your healthcare provider if NSAIDs
are safe for you. Always read the medicine label and follow directions.

® Acetaminophen decreases pain and fever. It is available without a doctor's
order. Ask how much to take and how often to take it. Follow directions.
Read the labels of all other medicines you are using to see if they also
contain acetaminophen, or ask your doctor or pharmacist. Acetaminophen
can cause liver damage if not taken correctly. Do not use more than 4 grams
(4,000 milligrams) total of acetaminophen in one day.

® Take your medicine as directed. Contact your healthcare provider if you
think your medicine is not helping or if you have side effects. Tell him or her
if you are allergic to any medicine. Keep a list of the medicines, vitamins,
and herbs you take. Include the amounts, and when and why you take them.
Case 3:23-cv-00101-DPM Document10_ Filed 08/03/23 Page 24 of 26
Name: MATTHEW C LAWRENCE
Acct Num: SV0204221360

ow Med Rec Num: SMO7115103

yy eormnca rads Location: EMERGENCY DEPARTMENT
eat MEDICAL CENTER Primary Provider: FREGO,JONATHAN

The Heart of Great Medicine Date: 01/18/23

Bring the list or the pill bottles to follow-up visits. Carry your medicine list
with you in case of an emergency.

Self-care:

® Rest as much as possible. Do not play contact sports until the healthcare
provider says it is okay.

© Apply ice on your wrist for 15 to 20 minutes every hour or as directed. Use
an ice pack, or put crushed ice in a plastic bag. Cover it with a towel before

you place it on your skin. Ice helps prevent tissue damage and decreases
swelling and pain.

® Elevate your wrist above the level of your heart as often as possible. This
will help decrease swelling and pain. Prop your wrist on pillows or blankets
to keep it elevated comfortably.

Elevate Arm
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Case 3:23-cv-00101-DPM Document10_ Filed 08/03/23 Page 2 of 26

Name: MATTHEW C LAWRENCE
Acct Num: SV0204221360

w Med Rec Num: SMQ7115103

1 A ernlnca rads Location: EMERGENCY DEPARTMENT
MEDICAL CENTER Primary Provider: FREGO,JONATHAN

The Heart of Great Medicine Date: 01/18/23

Cast or splint care:
® You may take a bath or shower as directed. Do not let your cast or splint
get wet. Before bathing, cover the cast or splint with 2 plastic trash bags.
Tape the bags to your skin above the cast or splint to seal out the water.
Keep your arm out of the water in case the bag breaks. If a plaster cast gets
wet and soft, call your healthcare provider.

® Check the skin around the cast or splint every day. You may put lotion on
any red or sore areas.

®@ Do not push down or lean on the cast or brace because it may break.

® Do not scratch the skin under the cast by putting a sharp or pointed object
inside the cast.

Go to physical therapy as directed: You may need physical therapy after your
wrist heals and the cast is removed. A physical therapist can teach you exercises
to help improve movement and strength and to decrease pain.

Follow up with your doctor or bone specialist as directed: You may need to
return to have your cast removed. You may also need an x-ray to check how well
the bone has healed. Write down your questions so you remember to ask them
during your visits.

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The above information is an educational aid only. It is not intended as medical
advice for individual conditions or treatments. Talk to your doctor, nurse or
pharmacist before following any medica! regimen to see if it is safe and effective
for you.
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